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                                                                                           DISTRICT COURT
                                                                               CLERK, U.S.



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                                                                                      DISTRICT    ALIFORNIA
                                                                              CENTRAL               pEPUTY
                                                                              BY




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                   cASE tvUMBER
                                                 PLAINTIFF
                           v.                                      8:20-cr-00104-DOC

 NAN CARLOS FLORES                                               ORDER OF TEMPORARY DETENTION
                                                                   PENDING HEARING PURSUANT
                                           DEFENDnrrT~s~.             TO BAIL REFORM ACT


     Upon motion of Defendant                                        ,IT IS ORDERED that a detention hearing
is set for September 24                                 , 2020       , at 9:00    a.m. / ~p.m. before the
Honorable JOHN D. EARLY,United States Magistrate Judge               , in Courtroom 6A (Santa Ana)/ by VTC

   Pending this hearing, the defendant shall be held in custody by the United States Marshal or
                                                                           and produced for the hearing.
                     (Other custodial officer)



                                                                                 /~~
Dated: September 18, 2020                            JOHN D. EARL
                                                 U.S.                         Judge




                  ORDER OF TEMPORARY DETENTION PENDING HEARING PURSUANT TO BAIL REFORM ACT
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